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                                   Exhibit B

                              The Elrod Declaration




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                       Case No. 23-90147
    In re:                                                             Jointly Administered

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              (Chapter 7)

                                      Debtors.                         Judge Eduardo V. Rodriguez

                 DECLARATION OF JOHN D. ELROD IN SUPPORT OF THE
              APPLICATION OF THE CHAPTER 7 TRUSTEE FOR ENTRY OF AN
               ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT
                      OF GREENBERG TRAURIG, LLP AS SPECIAL
                               LITIGATION COUNSEL

             I, John D. Elrod, hereby state:

             1.     I am a Shareholder at the international law firm of Greenberg Traurig, LLP

(“Greenberg Traurig”), proposed special litigation counsel to Janet S. Northrup, solely in her

capacity as the Chapter 7 Trustee (the “Trustee”) for the estates of Mountain Express Oil Company,

et al. (collectively, the “Debtors”). Greenberg Traurig maintains offices throughout the United

States, including at Terminus 200, 3333 Piedmont Road NE, Suite 2500, Atlanta, Georgia 30305.

I am a member in good standing of the State Bar of Georgia, and I have been admitted to practice

in the United States Court of Appeals for the Eleventh Circuit, and United States District Courts

for the Northern, Eastern, and Western Districts of Texas.

             2.     I submit this declaration (the “Declaration”) on behalf of Greenberg Traurig in

support of the Application (the “Application”)2 of the Trustee to retain Greenberg Traurig as

special litigation counsel, effective as of November 11, 2023, and to provide the disclosures under

the Bankruptcy Code, the rules of this Court and Bankruptcy Rule 2014(a).



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      Capitalized terms used herein but not otherwise defined shall have those meanings set forth in the Application.


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          3.     Except as otherwise indicated herein, I have personal knowledge of the matters set

forth herein and, if called as a witness, would testify competently thereto. Certain of the disclosures

set forth herein relate to matters not within my personal knowledge, but rather within the personal

knowledge of other attorneys and employees at Greenberg Traurig and are based on information

derived from Greenberg Traurig’s internal records provided by them to me.

                                  SCOPE OF EMPLOYMENT

          4.     The professional services that the Trustee expects that Greenberg Traurig will be

called upon to render include, but shall not be limited to, the following:

                 a)     prosecuting claims and causes of action against the Debtors’ former
                        insiders, and other individuals and entities responsible for the Debtors’
                        insolvency;

                 b)     preparing and reviewing pleadings, motions and correspondence related to
                        that litigation;

                 c)     appearing at proceedings before this Court in connection with such matters;

                 d)     advising the Trustee with respect to the litigation; and

                 e)     performing such other legal services as may be required in connection with
                        the litigation.

          While Greenberg Traurig will continue to represent the Agent (as defined below) in these

Cases generally, with respect to the foregoing matters, it shall represent solely the Trustee.

    GREENBERG TRAURIG DOES NOT HOLD OR REPRESENT ANY INTEREST
          ADVERSE TO THE DEBTORS OR THE CHAPTER 7 ESTATES
    WITH RESPECT TO THE SPECIAL MATTERS ON WHICH IT IS EMPLOYED

          5.     Except as disclosed herein, to the best of my knowledge and information after due

inquiry, other than the Agent, Greenberg Traurig has no connection with the Debtors, their

creditors, any other party in interest herein or their respective attorneys or professionals and does

not hold or represent any entity having an adverse interest in connection with these Cases. For so

long as Greenberg Traurig represents the Trustee, and absent further order of this Court, Greenberg

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Traurig will not represent any entity other than the Trustee and the Agent in connection with these

Cases.

          6.   As more fully described hereinafter, Greenberg Traurig maintains a list of

Greenberg Traurig’s current and former engagements, clients, and adverse parties going back three

(3) years (the “Client Database”). Greenberg Traurig maintains and systematically updates its

Client Database in the ordinary court of business, and it is the regular practice of Greenberg Traurig

to make and maintain these records.

          7.   In connection with preparing this Declaration, I caused to be submitted to, and

checked against, that Client Database all those names set forth on Schedule 1 attached hereto,

provided to the Trustee by the Debtors, which names include: (a) Debtors and Non-Debtor

Affiliates; (b) Directors and Officers; (c) Interested Parties; (d) Judges and Office of U.S. Trustee

for the Southern District of Texas; (e) Lenders; (f) Litigation Parties; (g) Ordinary Course

Professionals; (h) Professionals; (i) Secured Parties; (j) Senior Management; and (k) Top

Unsecured Creditors (collectively, the “Potentially Interested Parties”).        Greenberg Traurig

compared the names of the Potentially Interested Parties against a list of Greenberg Traurig’s

current and former engagements, clients and adverse parties (the “Client Database”). As the

identity of any additional Potentially Interested Parties becomes known, Greenberg Traurig will

supplement this Declaration to the extent necessary.

          8.   This inquiry revealed that certain of the Potentially Interested Parties are current or

former Greenberg Traurig clients (the list of such clients is attached hereto as Schedule 2 and is

incorporated herein by reference and is referred to herein as the “Client Match List”). Through

the information generated from the above-mentioned inquiry and, to the extent necessary, through

follow-up inquiries with Greenberg Traurig attorneys responsible for parties listed on the Client



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Match List, except as disclosed herein, Greenberg Traurig determined that the representation of

those clients on the Client Match List concerned matters unrelated to the Debtors or these Cases.

Greenberg Traurig hereby makes the following specific disclosures:

             Greenberg Traurig represents First Horizon Bank, as Agent in these Cases (the
              “Agent”). The 2022 revenue collected from Greenberg Traurig’s
              representation of the Agent constitutes less than one percent (1%) of
              Greenberg Traurig’s total revenue. Greenberg Traurig will not represent the
              Trustee in any matters adverse to the Agent or the lenders in the bank group.

             Greenberg Traurig previously represented Blue Owl Real Estate Capital, LLC
              f/k/a Oak Street Real Estate Capital, LLC (“Blue Owl”) in discrete matters
              wholly unrelated to the Debtors or these Cases. Blue Owl never paid Greenberg
              Traurig any fees associated with that work. Those matters have concluded and
              no attorney who provided services to Blue Owl will provide services to the
              Trustee.

             Lawrence Perkins (“Mr. Perkins”) was an independent director who joined the
              board of Mountain Express Oil Company, one of the Debtors, prior to the
              Petition Date. Although Greenberg Traurig has not represented Mr. Perkins in
              his individual capacity, Greenberg Traurig currently represents
              SierraConstellation Partners (“SCP”), where Mr. Perkins currently serves as the
              chief executive officer, in a matter unrelated to these Cases. Specifically,
              Greenberg Traurig represents SCP, as a liquidating trustee, in a matter unrelated
              to these cases. Additionally, GT currently represents an entity affiliated with
              SCP (Aliera LT, LLC) as liquidating trustee in The Aliera Companies, Inc.
              bankruptcy cases pending in Delaware.

             Greenberg Traurig previously represented various landlord entities, AFN
              ABSPROP001, LLC, ARG MEVNAAAL001, LLC, ARG MESMOA001,
              LLC, and ARG ME19PCK001, LLC in a lease dispute against three of the
              Debtors, Mex North Alabama, LLC, Mountain Express Oil Company, and
              Texas MEX Limited Company, LLC, who served as guarantors under the
              applicable leases. This representation has concluded.

             Greenberg Traurig represented the Necessary Retail REIT, Inc. in a commercial
              lease dispute against the Debtors prior to and in early in these Cases. Greenberg
              Traurig withdrew from that representation early in these Cases. The properties
              at issue in that dispute were leased by the Necessary Retail REIT, Inc. to the
              Debtors, and the leases have now been terminated. Greenberg Traurig
              continues to represent the Necessary Retail REIT, Inc. in matters unrelated to
              these Cases.




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               Greenberg Traurig represents McDonald’s Corporation in a property dispute
                against one of the Debtors’ former landlords, Mountain Portfolio Owner NJ,
                LLC, relating to property once leased to the Debtors. This representation is
                unrelated to these Cases.

          9.       Greenberg Traurig’s proposed representation of the Trustee will not involve the

commencement or prosecution of any action in connection with these Cases asserting: (i) any

challenge to the allowance, enforceability, priority, amount, extent or payment of any indebtedness

owed by any party to the Agent or any member of the bank group, to the attachment, perfection,

extent or priority of any of the liens securing any such indebtedness, or (ii) any claim, counterclaim

or cross-claim against the Agent or any member of the bank group of any kind whatsoever (whether

based upon lender liability, fraud, misrepresentation, dishonest conduct or otherwise). To the

extent that the Trustee deems any such actions necessary or appropriate, such actions will be

handled by other counsel, and Greenberg Traurig will not investigate claims against these parties.

Additionally, upon its retention, Greenberg Traurig’s investigation and prosecution of the estates’

claims and causes of action shall be solely directed by the Trustee and shall inure to the benefits

of the estates.

          10.      None of Greenberg Traurig’s representations of these parties in interest comprises

a material component of Greenberg Traurig’s practice. To the best of my knowledge, the standard

articulated by courts of the Fifth Circuit regarding the appointment of counsel by a Chapter 7

trustee has been met in these Cases and Greenberg Traurig represents no other entity having an

adverse interest in connection with these Cases other than as disclosed herein.

          11.      Except for the continued representation of the Trustee and the Agent, neither I nor

the Firm has or will represent any other entity in connection with these Cases. Neither I nor the

Firm have or will accept any compensation from any creditor (other than the Agent) or other party

in interest in these Cases, except compensation for services rendered to the Trustee and


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reimbursement of necessary expenses from the Chapter 7 estates upon appropriate application to

the Court.

          12.   Through a firm wide e-mail, Greenberg Traurig also solicited information from its

attorneys to determine if any attorneys employed by Greenberg Traurig are related to any United

States Bankruptcy Judges for the Southern District of Texas, including the Honorable Eduardo V.

Rodriguez, the Bankruptcy Judge presiding over these Cases, the United States Trustee for Region

7, or any person employed in the Office of the United States Trustee for Region 7. Greenberg

Traurig further solicited information from its attorneys to determine if any attorneys employed by

Greenberg Traurig (i) are investors in the Debtors or (ii) were, within two years of the Petition

Date, a director, officer, or employee of the Debtors. To the best of my knowledge, information

and belief, insofar as I have been able to ascertain after due inquiry, other than in connection with

these Chapter 11 Cases, no such connections were discovered. In the event that any additional

information is discovered, Greenberg Traurig will supplement this Declaration to the extent

necessary.

          13.   Based on the foregoing and except as set forth herein, neither I, Greenberg Traurig,

nor any shareholder, counsel, or associate thereof, insofar as I have been able to ascertain based

on the information currently available to me, represents any interest adverse to the Chapter 7

estates. To the best of my knowledge, information and belief, Greenberg Traurig is a “disinterested

person” as that term is defined in section 101(14) of the Bankruptcy Code in that Greenberg

Traurig, its shareholders, counsel and associates:

          (a)   are not creditors, equity security holders or insiders of the Debtor;

          (b)   are not and were not, within two (2) years before the date of the filing of the
                Debtors’ chapter 11 petitions, a director, officer, or employee of the Debtors; and




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          (c)       do not have an interest materially adverse to the interest of the estate or any class
                    of creditors or equity security holders by reason of any direct or indirect relationship
                    to, connection with, or interest in, the Debtors or for any other reason.

          14.       To the best of my knowledge and information, other than as identified in this

Declaration, Greenberg Traurig has no connection with the Debtors, their significant creditors,

other parties in interest herein, their current respective attorneys or professionals, the U.S. Trustee,

or any person employed in the office of the U.S. Trustee, and does not hold or represent any entity

having an adverse interest in connection with these Cases, except as disclosed herein.

          15.       Greenberg Traurig has also advised the Trustee that it will conduct an ongoing

review of its files to ensure no conflicts or other disqualifying circumstances exist or arise. If any

new material facts or relevant relationships are discovered or arise, Greenberg Traurig will

supplement its disclosures to the Court.

                                  PROFESSIONAL COMPENSATION

          16.       Subject to this Court’s approval and in accordance with Sections 330 and 331 of

the Bankruptcy Code, the Bankruptcy Rules, and the rules and other procedures that may be fixed

by this Court, the Trustee requests that Greenberg Traurig be compensated on a contingency fee

basis, as follows:

                   25% of any recovery before 6 months after demand is made (the “6-Month Mark”);

                   28% from the 6-Month Mark to the close of discovery in any associated litigation;

                   30% after the close of discovery until the entry of a pre-trial order; and

                   33% after the entry of the pretrial order through the conclusion of the trial court
                    litigation.

          17.       Greenberg Traurig will be reimbursed by the Chapter 7 estates for its actual and

necessary expenses incurred in pursuing the litigation including, but not limited to, photocopies,

courier service, computer assisted research, docket and court filing fees, travel, court reporting

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charges, and any other incidental costs advanced by the firm specifically for these special litigation

matters.

          18.    Greenberg Traurig intends to apply for compensation for professional services

rendered in connection with these Cases subject to the approval of this Court and in compliance

with applicable provisions of the Bankruptcy Code, Bankruptcy Rules, Local Rules, and Orders of

this Court, on a contingency fee basis, plus reimbursement of actual, necessary expenses and other

charges incurred by Greenberg Traurig.

          19.    Other than as set forth above and in the Application, there is no proposed

arrangement to compensate Greenberg Traurig in connection with its representation of the Trustee.

          20.    By reason of the foregoing, I believe Greenberg Traurig is eligible for employment

and retention by the Trustee pursuant to section 327(c) and the applicable Bankruptcy Rules.

          I declare under penalty of perjury that the foregoing is true and correct.

          Dated this 11th day of December, 2023.



                                                        /s/ John D. Elrod
                                                        John D. Elrod, solely in his capacity as a
                                                        Shareholder of Greenberg Traurig, LLP




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                                        Schedule 1

                               Potentially Interested Parties


  Category                                  Name
  Debtor & Non-Debtor Affiliates            1200 Wego LLC
  Debtor & Non-Debtor Affiliates            1227 Veterans, LLC
  Debtor & Non-Debtor Affiliates            1308 Jefferson Davis LLC
  Debtor & Non-Debtor Affiliates            13289 Old Hammond Highway LLC
  Debtor & Non-Debtor Affiliates            1600 Manhattan Blvd, LLC
  Debtor & Non-Debtor Affiliates            2601 Gen. Degaulle LLC
  Debtor & Non-Debtor Affiliates            2698 Barataria Blvd LLC
  Debtor & Non-Debtor Affiliates            2701. Canal Street LLC
  Debtor & Non-Debtor Affiliates            2850 Belle Chasse Hwy LLC
  Debtor & Non-Debtor Affiliates            300 Lee Drive LLC
  Debtor & Non-Debtor Affiliates            3049 Loyola Drive L.L.C.
  Debtor & Non-Debtor Affiliates            4 Court Solutions
  Debtor & Non-Debtor Affiliates            4115 Airline Hwy, LLC
  Debtor & Non-Debtor Affiliates            4408 S. I-10 Service Road LLC
  Debtor & Non-Debtor Affiliates            4520 Jefferson Highway LLC
  Debtor & Non-Debtor Affiliates            4662 GDD LLC
  Debtor & Non-Debtor Affiliates            4915 Westbank Expwy LLC
  Debtor & Non-Debtor Affiliates            4940 Groom Road, L.L.C.
  Debtor & Non-Debtor Affiliates            5310 Flannery Road LLC
  Debtor & Non-Debtor Affiliates            798 Jean Lafitte, L.L.C.
  Debtor & Non-Debtor Affiliates            8692 River Road, LLC
  Debtor & Non-Debtor Affiliates            9410 Greenwell Springs, LLC
  Debtor & Non-Debtor Affiliates            Adelphi Transport, LLC
  Debtor & Non-Debtor Affiliates            Alabama Terminal Property, LLC
  Debtor & Non-Debtor Affiliates            Avondale Brothers No 128 LLC
  Debtor & Non-Debtor Affiliates            Avondale Investments, L.L.C.
  Debtor & Non-Debtor Affiliates            B&T Petroleum LLC
  Debtor & Non-Debtor Affiliates            Brothers Belle Chasse, L.L.C.
  Debtor & Non-Debtor Affiliates            Brothers Carol Sue, LLC
  Debtor & Non-Debtor Affiliates            Brothers Expressway, Inc.
  Debtor & Non-Debtor Affiliates            Brothers I-10 Service Road, Inc.
  Debtor & Non-Debtor Affiliates            Brothers Petroleum, L.L.C.
  Debtor & Non-Debtor Affiliates            Brothers Stonebridge, Inc.
  Debtor & Non-Debtor Affiliates            Brothers Terry Parkway, Inc.
  Debtor & Non-Debtor Affiliates            Consolidated HR Services LLC
  Debtor & Non-Debtor Affiliates            Crowder Brothers, LLC

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  Category                            Name
  Debtor & Non-Debtor Affiliates      Exxon General Degaulle, LLC
  Debtor & Non-Debtor Affiliates      Gause Operation, L.L.C.
  Debtor & Non-Debtor Affiliates      Jamie Boulevard, LLC
  Debtor & Non-Debtor Affiliates      Lapalco Brothers No. 125 LLC
  Debtor & Non-Debtor Affiliates      Madison Auto Truck Plaza and Lucky Dollar
                                      Casino, LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels NE LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels NE-IL LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels NE-IN LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels NE-KY LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels NE-NJ LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels NE-NY LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels NE-OH LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels NW LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels NW-IA LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels NW-MO LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels SE LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels SE-GA LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels SE-MS LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels SE-TN LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels SW LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels SW-LA LLC
  Debtor & Non-Debtor Affiliates      MEX Fuels SW-OK LLC
  Debtor & Non-Debtor Affiliates      MEX North Alabama, LLC
  Debtor & Non-Debtor Affiliates      MEX RE Holdings LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NE LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NE-IN LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NE-NJ LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NE-NY LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NE-NY-LI LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NE-OH LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NE-PA LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NW LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NW-IA
  Debtor & Non-Debtor Affiliates      MEX RE-NW-KS LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NW-MN
  Debtor & Non-Debtor Affiliates      MEX RE-NW-MO
  Debtor & Non-Debtor Affiliates      MEX RE-NW-ND LLC
  Debtor & Non-Debtor Affiliates      MEX RE-NW-WI LLC


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  Category                            Name
  Debtor & Non-Debtor Affiliates      MEX RE-SE LLC
  Debtor & Non-Debtor Affiliates      MEX RE-SE-AL LLC
  Debtor & Non-Debtor Affiliates      MEX RE-SE-FL-LLC
  Debtor & Non-Debtor Affiliates      MEX R -SE-GA LLC
  Debtor & Non-Debtor Affiliates      MEX RE-SE-MS LLC
  Debtor & Non-Debtor Affiliates      MEX RE-SE-NC LLC
  Debtor & Non-Debtor Affiliates      MEX RE-SW LLC
  Debtor & Non-Debtor Affiliates      MEX RE-SW-AR LLC
  Debtor & Non-Debtor Affiliates      MEX RE-SW-LA LLC
  Debtor & Non-Debtor Affiliates      MEX RE-SW-OK LLC
  Debtor & Non-Debtor Affiliates      MEX RE-SW-TX LLC
  Debtor & Non-Debtor Affiliates      MEX-RE-SE-SC-LLC
  Debtor & Non-Debtor Affiliates      MEX-RE-SE-TN LLC
  Debtor & Non-Debtor Affiliates      Mississippi MEX Company, LLC
  Debtor & Non-Debtor Affiliates      Mountain Express Baking and Coffee Co.
  Debtor & Non-Debtor Affiliates      Mountain Express Ethanol Company
  Debtor & Non-Debtor Affiliates      Mountain Express Oil Company
  Debtor & Non-Debtor Affiliates      Mountain Express Oil Company Southeast, LLC
  Debtor & Non-Debtor Affiliates      Newton Brothers, Inc.
  Debtor & Non-Debtor Affiliates      South Claiborne Operation LLC
  Debtor & Non-Debtor Affiliates      Spartan Tank Management LLC
  Debtor & Non-Debtor Affiliates      Star Mountain Express, LLC
  Debtor & Non-Debtor Affiliates      Texas MEX Limited Company LLC
  Debtor & Non-Debtor Affiliates      Webster P II L.L.C.
  Debtor & Non-Debtor Affiliates      Webster P.L.L.C.
  Debtor & Non-Debtor Affiliates      West Hill Ranch Group LLC
  Debtor & Non-Debtor Affiliates      West Hill Ranch Investors, LLC
  Debtor & Non-Debtor Affiliates      WHRG Retail Ops LLC
  Debtor & Non-Debtor Affiliates      WHRG TC LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-NE LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-NE-PA LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-NW LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-NW-IA LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-NW-KS LLC
  Debtor & Non-Debtor Affiliates      WHRG TC- W-MO LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-NW-ND LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-NW-WY LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-SE LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-SE-AL LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-SE-SC LLC


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  Category                            Name
  Debtor & Non-Debtor Affiliates      WHRG TC-SW LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-SW LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-SW-AR LLC
  Debtor & Non-Debtor Affiliates      WHRG TC-SW-LA LLC
  Debtor & Non-Debtor Affiliates      WHRG-LA, LLC
  Debtor & Non-Debtor Affiliates      WHRG-LA2, LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS NE LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS NE-NY LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS NE-NY-LI LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS NE-PA LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS NW LLC
  Debtor & Non-Debtor Affiliates      WI-IRGOPS NW-IA LLC
  Debtor & Non-Debtor Affiliates      Wl-IRGOPS NW-IA-WIA LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS NW-MI LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS NW-MO LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS NW-MO-NMO LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS NW-WI LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS NW-Wl-NWI LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SE LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SE-AL-NORTH LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SE-SC LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SE-TN LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SE-TN-WTN LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SW LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SW-AR LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SW-AR-NWAR LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SW-OK LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SW-OK-OKC LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SW-TX LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SW-TX-DALLAS LLC
  Debtor & Non-Debtor Affiliates      WHRGOPS SW-TX-STX LLC
  Debtor & Non-Debtor Affiliates      WHRGROPS NW-KS LCC
  Debtor & Non-Debtor Affiliates      WHRGROPS SE-MS LLC
  Debtor & Non-Debtor Affiliates      WHRGROPS SE-MS-JACKSON LLC
  Directors & Officers                Craig Barbarosh
  Directors & Officers                Lamar Frady
  Directors & Officers                Lawrence Perkins
  Directors & Officers                Turjo Wadud
  Interested Party                    GPM Investments, LLC
  Interested Party                    Lalani Petroleum LLC


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  Category                                 Name
  Judges & Office of US Trustee S.D. Tex   Chief Judge Eduardo V. Rodriguez
  Judges & Office of US Trustee S.D. Tex   Judge Christopher M. Lopez
  Judges & Office of US Trustee S.D. Tex   Judge David R. Jones
  Judges & Office of US Trustee S.D. Tex   Judge Jeffrey P. Norman
  Judges & Office of US Trustee S.D. Tex   Judge Marvin Isgur
  Judges & Office of US Trustee S.D. Tex   Alethea Caluza
  Judges & Office of US Trustee S.D. Tex   Alicia Barcomb
  Judges & Office of US Trustee S.D. Tex   Brian Henault
  Judges & Office of US Trustee S.D. Tex   Christopher R. Travis
  Judges & Office of US Trustee S.D. Tex   Christy Simmons
  Judges & Office of US Trustee S.D. Tex   Clarissa Waxton
  Judges & Office of US Trustee S.D. Tex   Glenn Otto
  Judges & Office of US Trustee S.D. Tex   Gwen Smith
  Judges & Office of US Trustee S.D. Tex   Ha Nguyen
  Judges & Office of US Trustee S.D. Tex   Hector Duran
  Judges & Office of US Trustee S.D. Tex   Ivette Gerhard
  Judges & Office of US Trustee S.D. Tex   Jana Whitworth
  Judges & Office of US Trustee S.D. Tex   Jayson B. Ruff
  Judges & Office of US Trustee S.D. Tex   Linda Motton
  Judges & Office of US Trustee S.D. Tex   Luci Johnson-Davis
  Judges & Office of US Trustee S.D. Tex   Millie Aponte Sall
  Judges & Office of US Trustee S.D. Tex   Samantha Chilton
  Judges & Office of US Trustee S.D. Tex   Stephen Statham
  Judges & Office of US Trustee S.D. Tex   Yasmine Rivera
  Landlord                                 Blue Owl Real Estate Capital, LLC f/k/a Oak Street
                                           Real Estate Capital, LLC
  Landlord                                 Oak Street
  Lender                                   Bank of Hope
  Lender                                   Cadence Bank, N.A.
  Lender                                   Cadence Bank, N.A.
  Lender                                   First Horizon Bank f/k/a IBERIABANK
  Lender                                   Hancock Whitney Bank
  Lender                                   Pinnacle Bank
  Lender                                   South State Bank
  Lender                                   Synovus Bank
  Lender                                   United Community Bank
  Litigation                               Aaron Palmer
  Litigation                               AFN ABSPROP00I LLC c/o BYBEE &
                                           TIBBALS, LLC
  Litigation                               AFN ABSPROP00I LLC c/o Daniel Coiker Horton
                                           & Bell, P.A.

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  Category                            Name
  Litigation                          AFN ABSPROP00I LLC c/o GREENBERG
                                      TRAURIG, LLP
  Litigation                          AFN ABSPROP00I LLC c/o Mitchell, Williams,
                                      Selig, Gates & Woodyard, P.L.L.C.
  Litigation                          Anderson O'Neal
  Litigation                          Aaron Palmer
  Litigation                          Azhar M. Chaudhary
  Litigation                          Douglas E. Berger
  Litigation                          Freeman Mathis & Gary LLP
  Litigation                          Freeway Stores OK LLC c/o McAfee & Taft
  Litigation                          Gary Freed
  Litigation                          Hegel Laurent Esq.
  Litigation                          Joseph V. Dirosa, Jr.
  Litigation                          Joshua S. Berger
  Litigation                          Law Offices of James Scott Farrin
  Litigation                          Richard A. Tonry, II
  Ordinary Course Professional        Aceel IP Law, PLLC
  Ordinary Course Professional        Allison U. Rovira, Attorney at Law
  Ordinary Course Professional        Bondurant Mixson & Elmore LLP
  Ordinary Course Professional        Burkhalter Law
  Ordinary Course Professional        Canero Lammers Faclul Acevedo, PLLC
  Ordinary Course Professional        Clifton, Larson, Allen, LLP
  Ordinary Course Professional        Confiance Business Solutions, Inc
  Ordinary Course Professional        Crowley Fleck
  Ordinary Course Professional        David M. DeClement, Esq., Attorney at Law
  Ordinary Course Professional        GableGotwals
  Ordinary Course Professional        HooverSlovacek LLP
  Ordinary Course Professional        James T. Johnston, Jr., LLC
  Ordinary Course Professional        Leonard L. Levenson & Associates
  Ordinary Course Professional        McCormick | Landry Munoz, PLLC
  Ordinary Course Professional        Nichols, Cauley & Associates, LLC
  Ordinary Course Professional        Parker Poe Adams & Bernstein, LLP
  Ordinary Course Professional        Robison Curphey & O'Connell
  Ordinary Course Professional        Speedy Inventory, LLC
  Ordinary Course Professional        Wimberley, Lawson Steckel, Schneider
  Ordinary Course Professional        Young Moore and Henderson, P.A.
  Professionals                       BOO USA LLP
  Professionals                       Allen & Overy
  Professionals                       Alvarez and Marsal
  Professionals                       Grant Thornton
  Professionals                       Greenberg Traurig

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  Category                            Name
  Professionals                       Kirkland & Ellis LLP
  Professionals                       Pachulski Stang Ziehl & Jones LLP
  Professionals                       Raymond James & Associates, Inc.
  Secured Parties                     BancorpSouth Bank
  Secured Parties                     BB&T Commercial Equipment Capital
  Secured Parties                     Cary Oil Co., Inc.
  Secured Parties                     CT Corporation System, Representative
  Secured Parties                     ExxonMobil Corp.
  Secured Parties                     First Commonwealth Equipment Finance
  Secured Parties                     Hancock Whitney Bank
  Secured Parties                     IberiaBank, as Administrative Agent
  Secured Parties                     Navitas Credit Corp.
  Secured Parties                     NEPA Trading & Investments LLC
  Secured Parties                     Sinclair Oil LLC
  Secured Parties                     Sumitomo Mitsui Finance and Leasing Co., Ltd.
  Secured Parties                     TCF National Bank
  Secured Parties                     United Community Bank
  Senior Management                   Dustin Martin
  Senior Management                   Dennis Kirk
  Senior Management                   Brandon Frampton
  Senior Management                   Douglas Blankenship
  Senior Management                   Neil Lansing
  Senior Management                   Daniel Turcot
  Senior Management                   Audra Stevens
  Senior Management                   Raven Cain
  Top Unsecured Creditor              Andrews Distributing Company
  Top Unsecured Creditor              Anthem Blue Cross Blue Shield
  Top Unsecured Creditor              ARG 1 CBHGNJ001, LLC et al
  Top Unsecured Creditor              CBE, Inc
  Top Unsecured Creditor              Chevron
  Top Unsecured Creditor              Coca-Cola Bottling Co.
  Top Unsecured Creditor              Core-Mark AR
  Top Unsecured Creditor              Crescent Crown Distributing
  Top Unsecured Creditor              Cross Oil Refining & Marketing
  Top Unsecured Creditor              DAS Distributors TC
  Top Unsecured Creditor              ENTERGY
  Top Unsecured Creditor              Exxon Mobil
  Top Unsecured Creditor              Federated Insurance
  Top Unsecured Creditor              Flying J-Saratoga-Pilot
  Top Unsecured Creditor              Frito-Lay All


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  Category                            Name
  Top Unsecured Creditor              Golden Gallons LLC
  Top Unsecured Creditor              Hunt Refining Company
  Top Unsecured Creditor              Imperial Trading Company
  Top Unsecured Creditor              JF Acquisition LLC
  Top Unsecured Creditor              KeyBank Real Estate Capital
  Top Unsecured Creditor              Marathon Petroleum
  Top Unsecured Creditor              Pepsi Beverages
  Top Unsecured Creditor              Shell
  Top Unsecured Creditor              Sinclair Distributor Services
  Top Unsecured Creditor              Southern Eagle Sales & Service, LP
  Top Unsecured Creditor              Southern Glazer's Wine AND Spirits-LA
  Top Unsecured Creditor              Sunoco
  Top Unsecured Creditor              TBHC Deliveries, LLC
  Top Unsecured Creditor              Total Image Solutions, LLC
  Top Unsecured Creditor              Valero
  Top Unsecured Creditor              VM Petro Inc




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                                                   Schedule 2

                                               Client Match List

The following names were compared to the Client Database. As noted below, Greenberg Traurig
has represented, in the past, or currently represents, and will likely represent in the future, certain
Potentially Interested Parties, including various entities that may be related to or affiliated with the
Potentially Interested Parties, in matters unrelated to the Debtors or these Cases.1
Due to the similarity of names of certain entities, Greenberg Traurig has on the Client Match List
certain Potentially Interested Parties that may be current or former clients or affiliates of current
or former clients. Greenberg Traurig may amend this Exhibit 2 to remove clients/client affiliates
that it discovers are not related to parties in interest. However, out of an abundance of caution and
in the interest of providing timely disclosures, Greenberg Traurig has listed these parties herein.2

            Name of Entity Searched                             Brief Description of Relationship to
                                                                       Greenberg Traurig3
                  Bank of Hope                                             Current Client
               Cadence Bank, N.A.                                          Current Client
               Entergy Services Inc.                             Current Client in unrelated matters
            Exxon Mobile Corporation                             Current Client in unrelated matters
             GPM Investments, LLC                                Current Client in unrelated matters
                  Grant Thornton                                 Current Client in unrelated matters
             Hancock Whitney Bank                                          Current Client
     First Horizon Bank f/k/a IBERIABANK                                   Current Client
                  Pinnacle Bank                                            Current Client
        Raymond James & Associates, Inc.                         Current Client in unrelated matters
     Shell Energy North America (US), L.P.                       Current Client in unrelated matters
                 South State Bank                                          Current Client
        Southern Glazer's Wine and Spirits                       Current Client in unrelated matters
    Sumitomo Mitsui Banking - Trade Finance                      Current Client in unrelated matters
                  Synovus Bank                                             Current Client
             United Community Bank                                         Current Client

1
    Each entity identified in Exhibit 2 represents less than 1% of Greenberg Traurig’s trailing twelve-month revenue.
2
    None of Greenberg Traurig’s representations of Potentially Interested Parties in these Cases comprises a material
    component of Greenberg Traurig’s practice, nor, except as disclosed herein and in the Elrod Declaration, does it
    represent such parties on any issue relating to the Debtors or their estates. However, it may become necessary to
    pursue legal action against certain parties who appear on the Client Match List. The Trustee may need to seek to
    retain other counsel to pursue such matters. Moreover, to the extent necessary and appropriate, Greenberg Traurig
    will implement an ethical wall, screening attorneys working on any such matters from interacting with attorneys
    working on these Cases.
3
    The term “Current Client” refers to an entity listed as a client in Greenberg Traurig’s Client Database for whom
    time has been recorded in the past three years and Greenberg Traurig has at least one open matter. The term
    “Former Client” refers to an entity listed as a client in Greenberg Traurig’s Client Database for whom time has
    been recorded in the past three years but all matters for such client have since been closed. Greenberg Traurig
    does not disclose connections if time was recorded more than three years before the Petition Date.


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